  Case 1:25-cr-00257        Document 70-1       Filed on 05/15/25 in TXSD     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

UNITED STATES OF AMERICA                              §
                                                      §
       v.                                             §              Case No. 1:25:cr-257
                                                      §
JAMES LAEL JENSEN                                     §
MAXWELL STERLING JENSEN                               §
a/k/a “Max”                                           §
KELLY ANNE JENSEN                                     §
ZACHARY GOLDEN JENSEN                                 §

                                            ORDER


       On this ______ day of _______ 2025, came on to be heard Defendant Maxwell Sterling

Jensen’s Brady Motion herein, and the Court, after duly considering said Motion and the

evidence thereon, finds that said Motion should be:

       GRANTED / DENIED



       SIGNED this _______ day of ___________________, 2025.



                                                      ___________________________________
                                                      Ignacio Torteya, III
                                                      United States Magistrate Judge
